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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )   MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )   SECTION: “H” (5)
                                                    )
This document relates to:                           )
All cases                                           )

                                 ORDER AND REASONS

         Before the Court is Plaintiffs’ Motion for Partial Summary Judgment on
Affirmative Defenses Under La. Rev. Stat. § 9:2800.59 (Doc. 9230). The Court
held oral argument on the Motion on May 7, 2020. For the following reasons,
the Motion is DENIED.


                                      BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that     manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more.
         In the instant Motion, Plaintiffs attack a certain affirmative defense
available under Louisiana law to the Taxotere manufacturers, Defendants
sanofi-aventis U.S., LLC and Sanofi U.S. Services, Inc. (collectively, “Sanofi”).
Under Louisiana Revised Statute 9:2800.59(B), a manufacturer is relieved of
liability where, at the time the product left its control, it did not know and


1   Docetaxel is the generic version of Taxotere.
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could not have known of the damage-causing characteristic at issue. Plaintiffs
ask the Court to grant partial summary judgment in their favor and hold that
as of January 26, 2007, Sanofi had or could have had knowledge of Taxotere’s
risk of permanent alopecia.


                                 LEGAL STANDARD

       Summary judgment is warranted where “there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a matter of
law.” 2 A genuine issue of fact exists only “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” 3 Rule 56 of
the Federal Rules of Civil Procedure “mandates the entry of summary
judgment, after adequate time for discovery and upon motion, against a party
who fails to make a showing sufficient to establish the existence of an element
essential to that party’s case, and on which that party will bear the burden of
proof at trial.” 4 “If the evidence is merely colorable, or is not significantly
probative, summary judgment may be granted.” 5


                                LAW AND ANALYSIS

       “To successfully maintain a failure-to-warn claim under the LPLA
[Louisiana Products Liability Act], a plaintiff must demonstrate that the
product in question has a potentially damage-causing characteristic and that
the manufacturer failed to use reasonable care to provide an adequate warning



2 FED. R. CIV. P. 56.
3 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
4 Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
5 Anderson, 477 U.S. at 249–50 (internal citations omitted).




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about this characteristic.” 6 Under Louisiana Revised Statute 9:2800.59(B), an
affirmative defense to a failure to warn claim exists where “the manufacturer
proves that, at the time the product left his control, he did not know and, in
light of then-existing reasonably available scientific and technological
knowledge, could not have known of the characteristic that caused the damage
or the danger of such characteristic.” 7
       According to Plaintiffs, the evidence establishes that on January 26,
2007, Sanofi had knowledge of Taxotere’s risk of permanent alopecia. Plaintiffs
aver that on this date, Sanofi approved changes to a certain informed consent
document. The document at issue was created by a Canadian facility, the Cross
Cancer Institute, for use in a clinical trial. 8 Originally, it listed both “hair loss”
and “permanent hair loss” as “Reported Side Effects” of Taxotere. 9 When the
author of the document sent a draft to Sanofi for review, Dr. Emanuel
Palatinsky responded for Sanofi. 10 He wrote that “‘hair loss’ is repetitive
(permanent [hair loss] is sufficient once).” 11 Notably, the document provided
that the side effects listed “are the side effects we know about at present,”
noting that there may be other side effects “that we do not know about yet.” 12
Plaintiffs emphasize that Sanofi approved the language in this document.
       Plaintiffs suggest that the reason Sanofi approved “permanent hair loss”
on this form was because Sanofi had been acquiring information about
permanent hair loss for years. Between 2003 and 2004, Sanofi received reports


6 Stahl v. Novartis Pharm. Corp., 283 F.3d 254, 264 (5th Cir. 2002). See also LA. REV. STAT.
  ANN. § 9:2800.57(A).
7 LA. REV. STAT. ANN. § 9:2800.59(B).
8 Doc. 9970-1 at 19–20. See also 9230-9 at 4.
9 Doc. 9230-9 at 11.
10 See id. at 1.
11 Id. See also Doc. 9230-1 at 3.
12 Doc. 9230-9 at 9.




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of “at least 15 cases” of permanent hair loss from participants in certain clinical
trials. 13 In addition to this, Plaintiffs highlight a 2001 publication by Dr. Jean-
Marc Nabholtz, which reported “long-lasting (longer than 2 years) partial
alopecia” in four out of 54 patients. 14 Lastly, in 2006, Dr. Scot Sedlacek made
a presentation at a breast cancer symposium describing a link between
Taxotere and permanent alopecia. Plaintiffs note that Sanofi discussed Dr.
Sedlacek’s findings with him around the time of his presentation. Ultimately,
Plaintiffs aver that this evidence and Sanofi’s decision to sanction “permanent
hair loss” on the informed consent document leave no genuine dispute of fact
regarding Sanofi’s knowledge of the risk as of January 26, 2007.
        The statutory provisions at issue here contemplate two steps. First, a
plaintiff must prove that the product in question had “a potentially damage-
causing characteristic.” 15 This requires proving general causation. A plaintiff
must also prove that “the manufacturer failed to use reasonable care to provide
an adequate warning of such characteristic.”                 16   Once this first step is
established, the burden shifts to the defendant to prove its affirmative defense.
There, the manufacturer must prove that “at the time the product left his
control, he did not know and, in light of then-existing reasonably available
scientific and technological knowledge, could not have known of the
characteristic that caused the damage or the danger of such characteristic.” 17



13 See Doc. 9230-2 at ¶ 18.
14 Doc. 9230-38 at 5–6.
15 Stahl, 283 F.3d at 264. See also LA. REV. STAT. ANN. § 9:2800.57(A) (“A product is

   unreasonably dangerous because an adequate warning about the product has not been
   provided if, at the time the product left its manufacturer's control, the product possessed a
   characteristic that may cause damage and the manufacturer failed to use reasonable care
   to provide an adequate warning of such characteristic and its danger to users and handlers
   of the product.”).
16 LA. REV. STAT. ANN. § 9:2800.57(A)
17 Id. § 9:2800.59(B).



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This second step focuses on the sufficiency of the information available to the
manufacturer. Sanofi appears to conflate these two steps.
         Sanofi focuses much of its briefing on a “Clinical Overview” that the
company issued in 2011. To prepare this report, the company’s safety
department conducted a comprehensive review of information relating to
persistent alopecia and Taxotere. After assessing 1,620 cases of alopecia,
Sanofi concluded that it was “impossible” to determine the cause of any given
patient’s persistent alopecia because of the multiple confounding factors
present with each report. 18 Relying on this evidence, Sanofi fails to focus on
the information that was available to it as of January 26, 2007. Similarly,
Sanofi notes that in 2015, the FDA found that “it’s impossible to determine
whether the permanence of [patients’] alopecia was due to docetaxel.” 19 These
pieces of evidence are more relevant to the first step of the analysis, although
they do assist the Court in assessing the information that was available to
Sanofi in 2007.
         Focusing on the second step, which is the heart of the affirmative defense
at issue, the Court finds that Plaintiffs have not carried their summary
judgment burden. Plaintiffs have failed to show that there is no issue of
material fact regarding whether Sanofi knew or had reason to know in January
2007 that Taxotere carried a risk of permanent alopecia. On this issue,
Plaintiffs present the informed consent of the Cross Cancer Institute, Dr.
Sedlacek’s findings, the 2001 publication of Dr. Nabholtz, and several case
reports.




18   See Doc. 9970-8 at 102–03.
19   Doc. 9970-25.

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     1. The Informed Consent
        Although the informed consent document was prepared for use in a
Sanofi-sponsored study, the document was not drafted by Sanofi. As previously
noted, the author of the document sent it to Sanofi only for review and
approval. Further, this study was permanently suspended before any patients
ever enrolled at this Canadian study site, and the form at issue was never
actually used. 20 Perhaps more importantly, however, the study had involved
other drugs; it was not focused on Taxotere. The informed consent document
states as follows:

              “WHAT DO WE HOPE TO LEARN?”

              The purpose of this Phase II study is to evaluate the
              safety, with respect to the heart, of adding treatment
              with a drug called bevacizumab to two established
              chemotherapy regimens whose cardiac (heart) safety
              profile has already been described and to evaluate the
              effectiveness of adding a drug, bevacizumab, to those
              two established chemotherapy regimens for breast
              cancer. Both anticancer regimens will include one or
              more established chemotherapy drugs: docetaxel,
              doxorubicin, and cyclophosphamide (TAC), or
              docetaxel and carboplatin combined with a biologic
              drug, trastuzumab (TCH). Both anticancer regimens
              will include the experimental addition of a biologic
              drug, bevacizumab. 21

The evidence shows, therefore, that the focus of the study was on bevacizumab
and how it affects heart safety.



20 See Doc. 9970-12 (p. 3) (“Enrollment was permanently suspended and all sites were
   terminated in November 2008.”); (pp. 5736–39) (listing study sites with patients enrolled
   and not including the Cross Cancer Institute).
21 Doc. 9230-9 at 5.




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        As the Court noted, Dr. Palatinsky responded to the author of the study
and provided feedback on “the content of the docetaxel section.” 22 In a “Track
Changes” comment in the document’s margin, Dr. Palatinsky wrote, “Hair loss-
duplicate entry.” 23 In the body of his email, he highlighted this, writing that
“‘Hair loss’ is repetitive (permanent h. l. is sufficient once).” 24 Indeed, looking
at the document, the Court sees that “hair loss” and “permanent hair loss” were
initially both listed as side effects for Taxotere. Dr. Palatinsky, therefore, was
pointing out a matter of fact. Given this and the other limitations discussed,
the Court simply cannot extrapolate from Dr. Palatinsky’s informal comments
to find that Sanofi had knowledge as contemplated by the statute.

     2. Dr. Sedlacek’s Findings
        The results from Dr. Sedlacek’s research show that “[a]ll 7 of these
women with [persistent significant alopecia] had received AC X 4 (60/600
mg/m2) every 3 weeks followed by docetaxel (100 mg/m2) every three weeks.” 25
Dr. Sedlacek acknowledged the limitations of his findings, concluding only that
“when docetaxel is administered after 4 doses of AC, there is a small but
significant possibility of poor hair regrowth.” 26 This evidence tells the Court
that these seven women also received Adriamycin and Cytoxan in addition to
docetaxel. Notably, Plaintiffs’ own experts have acknowledged that these drugs
are associated with permanent hair loss. 27

22 Id. at 1.
23 Id. at 11.
24 Id. at 1.
25 Doc. 9230-3.
26 Id.
27 See Doc. 9970-33 at 8 (Dr. Laura Plunkett) (“Q: You identified permanent hair loss as a

   hazard of Adriamycin; correct? A: Same answer. There are some case reports for that as
   well. Not many, but there are some.”); id. at 9 (Dr. Plunkett) (“Q: So with regard to, again,
   your work in this case, your search, your review, your analysis of the literature, you would
   agree with me that you identified permanent hair loss as a hazard of Cytoxan; correct? A:
   In terms of case repots, yes, there are some case reports.”); id. at 12–13 (Dr. Antonella


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   3. The 2001 Publication of Dr. Nabholtz
       Like Dr. Sedlacek’s research, the findings in the 2001 publication of Dr.
Nabholtz have limitations. The Nabholtz study “investigated the efficacy and
toxicity of docetaxel with doxorubicin and cyclophosphamide (TAC) as first-line
chemotherapy for anthracycline-naive patients with metastatic breast
cancer.” 28 Of the 54 patients studied, around one third (31 percent) of the
patients had received previous adjuvant and/or neoadjuvant chemotherapy. 29
No patient had, however, been previously exposed to anthracyclines. 30 While
the Nabholtz study did report long lasting (greater than two years) partial
alopecia in four patients, 31 there appears to be no indication of whether those
patients had previously been exposed to chemotherapy. Given these
confounding factors—the fact that these four patients may have had prior
chemotherapy and the fact that they were given both doxorubicin and
cyclophosphamide—the Court cannot determine the strength of this evidence.

   4. The Case Reports
       Plaintiffs identify several specific case reports that Sanofi received from
Dr. John Mackey between 2003 and 2004. These reports, however, present
confounding factors. For example, Plaintiffs highlight Dr. Mackey’s Patient No.
11158, averring that she suffered persistent hair loss after completing her
Taxotere treatment. This patient’s records, however, show that she was


   Tosti) (“Q: Is Adriamycin considered an anthracycline drug? A: Yes. Q: And there’s case
   reports of persistent chemotherapy induced alopecia with anthracycline regimens; true? A:
   Yes.”); id. at 13 (Dr. Tosti) (“Q: And you’d agree that Cytoxan causes hair loss; true? A: Yes.
   Q: And you’d also agree with me, Doctor, that there are reports in the literature which you
   have seen personally of persistent chemotherapy induced alopecia with Cytoxan? A: Very
   rare.”).
28 Doc. 9230-38 at 2.
29 Id. at 4.
30 Id.
31 Id. at 6.




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administered other drugs along with Taxotere—namely, Adriamycin and
Cytoxan. 32 Similarly, the records for Patient No. 12994, another patient who
reported persistent hair loss, show that she was given “doxorubicin and
cyclophosphamide followed by Taxotere.” 33 In addition to these confounding
factors, certain patients suffered other health conditions associated with hair
loss. The records for Patient No. 12607 show that she suffered from
hypothyroidism, 34 and the records for Patient No. 11293 show that she suffered
from chronic anemia. 35


        The evidence presented by Plaintiffs gives the Court pause. However,
without more this Court cannot say that there is no genuine dispute as to
whether Sanofi had or should have had knowledge of Taxotere’s alleged risk of
permanent alopecia as of January 26, 2007. This is a question for the jury.
        Sanofi has presented evidence to suggest that it was intentionally over-
inclusive with its hair loss warnings. Sanofi avers that it warned of “alopecia,”
which by its very nature is unpredictable. In her deposition, Dr. Frances
Polizzano, the Senior Labeling Director for Taxotere, testified that “[a]lopecia
is a term that sort of encompasses a range of -- ranging from anything from
you have nothing to permanent. So it could be transient. It could be temporary.
It could be persisting. It’s the full spectrum of hair loss.” 36 Sanofi also points to
testimony from Dr. Palatinsky, who testified that “[t]hey were warned about
persistent alopecia because the concept of persistent alopecia is inherent to
alopecia. A physician reading the USPI and a patient reading [] the product

32 Doc. 9230-28 at 1; Doc. 9230-29 at 1.
33 Doc. 9230-10 at 3.
34 Doc. 9230-13.
35 Doc. 9230-17.
36 Doc. 9970-47 at 4–5.




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information leaflet will know that alopecia could be reversible or it might not
be reversible.” 37
         The evidence presented is subject to multiple interpretations. Because of
this, the evidence is “such that a reasonable jury could return a verdict for the
nonmoving party.” 38 Accordingly, the Court finds that Plaintiffs are not
entitled to summary judgment under Rule 56. Instead, Sanofi must be given
the opportunity to present its affirmative defense to the jury.


                                       CONCLUSION

         For the foregoing reasons, Plaintiffs’ Motion for Partial Summary
Judgment on Affirmative Defenses Under La. Rev. Stat. § 9:2800.59 (Doc.
9230) is DENIED.
         New Orleans, Louisiana this 1st day of July, 2020.




                                                JANE TRICHE MILAZZO
                                                UNITED STATES DISTRICT JUDGE




37   Doc. 9970-13 at 13.
38   Anderson, 477 U.S. at 249–50 (internal citations omitted).

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